        Case 1:21-cr-00731-RC          Document 66        Filed 11/18/24    Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        :       Criminal Action No.: 21-731 (RC)
                                                 :
LAWRENCE LIGAS,                                  :
                                                 :
       Defendant.                                :

                                             ORDER

       On November 14, 2024, Defendant moved, by and through his counsel, for an

examination of his mental competency pursuant to 18 U.S.C. § 4241(a). ECF No. 64. Defense

counsel has not yet identified a qualified psychologist to conduct the examination. Upon review

of Defendant’s motion and the government’s reply (ECF No. 65), it is hereby ORDERED that

Defendant Lawrence Ligas shall be evaluated by a licensed psychologist for the purpose of a

forensic screening of Defendant’s competency pursuant to 18 U.S.C. § 4241(b); and it is

       FURTHER ORDERED that, after such examination, a report shall be made to this

Court and the parties, pursuant to 18 U.S.C. § 4247(c), as to:

       (1) Whether Defendant is presently mentally competent to understand the proceedings
           against him and to properly assist in the preparation of his defense; and

       (2) If the answer to the preceding question is negative, whether the examining clinical
           psychologist believes Defendant should be transferred to a mental facility for further
           examination and treatment; and it is

       FURTHER ORDERED that such report shall be provided to the parties and filed with

this Court under seal on or before November 27, 2024; and it is

       FURTHER ORDERED that the parties shall appear for a hearing on this matter
        Case 1:21-cr-00731-RC       Document 66      Filed 11/18/24     Page 2 of 2




pursuant to 18 U.S.C. § 4247(d) before the Court on Thursday, December 5, 2024, at 10:00

a.m., before the undersigned in Courtroom 23A.

       SO ORDERED.


Dated: November 18, 2024                                      RUDOLPH CONTRERAS
                                                              United States District Judge




                                             2
